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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

   LINDSAY RAFFERTY, on behalf of
   herself and all others similarly situated,
   known and unknown,

           Plaintiff,                                  Case No. 1:19-cv-24706-DLG

   v.

   DENNY’S INC., a Florida Corporation,

         Defendant.
   __________________________________/


      MOTION AND INCORPORATED MEMORANDUM OF LAW FOR AWARD OF
    ATTORNEYS’ FEES AND COSTS PURSUANT TO THE FAIR LABOR STANDARDS
                           ACT, 29 U.S.C. § 216(b)

           Plaintiff, Lindsay Rafferty (“Plaintiff” or “Ms. Rafferty”), by and through her

   undersigned counsel, files this Memorandum of Law in support of Motion for Award of

   Attorneys’ Fees. As set forth below, attorneys’ fees are warranted, and in fact required, because

   Plaintiff is the prevailing party with respect to claims under the Fair Labor Standards Act

   (“FLSA”). Further, the costs incurred by Ms. Rafferty’s counsel are well documented and

   warrant reimbursement by Defendant Denny’s, Inc. (“Denny’s” or “Defendant”). This Motion is

   further supported by the attached declaration exhibits.

   I.      INTRODUCTION

           It is well established that an award of attorneys’ fees to a prevailing plaintiff is

   mandatory under Section 216(b) of the Fair Labor Standards Act (“FLSA”). In the instant

   matter, there can be no serious debate that Plaintiff is the prevailing party. Indeed, even in the

   Settlement Agreement (ECF No. 100-1), Defendant acknowledges that Plaintiff’s counsel is
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   entitled to fees and costs. Thus, the sole issue in this Motion is the proper amount of fees and

   costs.

            As set forth below, throughout this litigation, Plaintiff’s counsel exercised “billing

   judgment” and took appropriate steps to avoid inappropriate or excessive billing. In addition to

   those efforts, Plaintiff’s counsel now doubles down on their restraint by avoiding seeking

   reimbursement for work done (i) on this matter in other district courts, (ii) in seeking collective

   certification, and (iii) on a purely supervisory basis. In short, as set forth below, this litigation

   has been long, contentious, and hard fought. Despite that, Plaintiff’s counsel was able to achieve

   a victory at the Eleventh Circuit that then culminated in a settlement wherein Plaintiff received

   full reimbursement for the entire tip credit claimed by Defendant, as well as all liquidated

   damages arising therefrom. These efforts, respectfully, warrant a granting of this Motion.1

   II.      STATEMENT OF FACTS

            Plaintiff was a server who worked for Denny’s in Akron, Ohio between February 2012

   and October 2018. At all relevant times, Ms. Rafferty was paid an hourly, subminimum wage

   equivalent to the tip credit rate, sometimes also known as the tipped minimum wage.

            Ms. Rafferty sued Denny’s in the Northern District of Ohio on October 17, 2018

   individually, and on behalf of all others similarly situated. In her Complaint, Plaintiff alleged

   that she and those similarly situated did not receive the applicable minimum wage for the time

   worked during which she could not receive a tip and that she should have been paid the full

   minimum wage, rather than the tipped minimum wage, for such time. Plaintiff sought her

   unpaid wages, liquidated damages, and attorneys’ fees and costs.



   1
    As a sister court aptly noted, “it is not uncommon that attorneys’ fee requests will exceed the
   amount of judgment in the case.” Matiano v. 5th Ave. Tree Experts, No. 20-23972, 2021 U.S.
   Dist. LEXIS 8877 (S.D. Fl. Jan. 15, 2021) (internal quotation omitted).


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          On July 8, 2019, the Northern District of Ohio granted in part Denny’s Motion to

   Dismiss for lack of personal jurisdiction on the grounds that, under Bristol-Myers Squibb Co. v.

   Superior Ct. of California, San Francisco Cty., 137 S. Ct. 1773, 198 L. Ed. 2d 395 (2017),

   exercising personal jurisdiction over out-of-state putative class action claimants would violate

   due process where the case is not brought in the state where the defendant is incorporated or in

   defendant’s principal place of business. Rafferty v. Denny’s, Inc., 2019 WL 2924998 (N.D. Oh.

   July 8, 2019). Accordingly, Plaintiff dismissed her claims in the Northern District of Ohio and

   refiled in the Southern District of Florida.2

          Plaintiff’s complaint before this Court asserted that Defendant violated the FLSA in two

   distinct ways—that Denny’s failed to comply with the notice provisions regarding use of the tip

   credit and that, as asserted in Ohio, Plaintiff did not receive the applicable minimum wage for

   the time worked during which she could not receive a tip. After Defendant filed its answer,

   discovery commenced in earnest. Plaintiff propounded and served document requests,

   interrogatories, and requests for admissions, while Defendant propounded written discovery.

   Defendant took the deposition of Plaintiff, and Plaintiff’s counsel took the deposition of

   Defendant’s corporate designee pursuant to Federal Rule of Civil Procedure 30(b)(6).

          Thereafter, Plaintiff filed her motion for conditional certification, (ECF No.. 58), which

   the Court denied [ECF No. 75]. Shortly thereafter, and only months before trial was scheduled

   to commence, the parties fully briefed Defendant’s Motion for Summary Judgment [ECF No.

   73]. The Court granted Defendant’s motion in full [ECF No. 84]. In its opinion, the Court held

   that Defendant was entitled to summary judgment because, in its determination, Ms. Rafferty’s

   deposition testimony, combined with the Department of Labor’s November 8, 2018 Opinion


   2
    This motion seeks only attorneys’ fees for work performed on this matter after the dismissal of
   Ms. Rafferty’s case from the Northern District of Ohio.


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   Letter FLSA2018-27, left no genuine issue of material fact as to whether Denny’s was entitled

   to take the tip credit for such time. Id.

           Ms. Rafferty timely appealed the decision on September 20, 2020 [ECF No. 85]. The

   parties participated in an unsuccessful appellate mediation, fully briefed the issues on appeal,

   and engaged in oral argument. Declaration of Clifford P. Bendau, II, attached as “Exhibit 1”

   (“Bendau Decl.”). Importantly, prior to oral argument, Plaintiff’s counsel had to respond to an

   inquiry by the Eleventh Circuit regarding the individuals who opted-into this action. Bendau

   Decl., Ex. 1, at ¶ 23. On September 15, 2021, the Eleventh Circuit issued an opinion reversing

   and remanding this Court’s decision with respect to the side work claim. Rafferty v. Denny’s,

   Inc., 13 4th 1166 (11th Cir. 2021). Thereafter, the parties engaged in settlement discussions, as

   the parties understood that trial would commence in short order. Bendau Decl., Ex. 1, at ¶ 25.

   The parties came to terms on an agreement. Id. The proposed settlement agreement included

   payment for all wages owed, not just time spent performing side work. Id. Stated another way,

   the proposed settlement accounts for both claims at issue in Plaintiff’s complaint—not just the

   side work issue for which the Eleventh Circuit issued a remand. Id. Prior to reaching an accord

   on the terms of the proposed settlement, Plaintiff’s counsel was required to perform additional

   research regarding the tax implications of certain proposed terms. Id. at ¶ 26. Thus, even at the

   end of this case, Plaintiff’s counsel was required to expend additional time and perform research

   due to novel/unique issues raised in this case. Id.

           Importantly, the proposed settlement agreement noted that Plaintiff’s counsel was

   entitled to attorneys’ fees [ECF No. 100-1, at ¶ 12]. It, however, left to the Court to determine




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   the precise amount of attorneys’ fees and, thus, the instant motion.3 Id. Plaintiff now files her

   motion for attorneys’ fees and costs against Denny’s, Inc. All told, Plaintiff’s counsel expended

   hundreds of hours litigating this matter and a substantial fee award is appropriate.

       III.   STANDARD AND ARGUMENT

              Under the FLSA, courts “shall, in addition to any judgment awarded to the plaintiff or

   plaintiffs, allow a reasonable attorney’s fee to be paid by the defendant, and costs of the action.”

   29 U.S.C. § 216(b). The Eleventh Circuit has set out a three-step process for determining

   whether and to what extent an FLSA plaintiff is entitled to an award of attorneys’ fees and

   costs. Atlanta Journal & Const. v. City of Atlanta Dep’t of Aviation, 442 F.3d 1283, 1289 (11th

   Cir. 2006). Those three steps are as follows:

          (1) Determine whether the plaintiff “prevailed” in the litigation;

          (2) Calculate the “lodestar,” which is the number of hours reasonably expended on the case

              multiplied by a reasonable hourly rate; and

          (3) Adjust the lodestar to account for the results obtained.

   Id.

              As shown below, by virtue of both Plaintiff prevailing in the Eleventh Circuit and the

   settlement agreement, the Plaintiff is the “prevailing party.”              Indeed, per the settlement

   agreement, there is no dispute regarding Plaintiff’s counsel being entitled to fees. The only issue

   is the amount. As a result, Plaintiff submits her lodestar, which is reasonable under the facts of

   this case.




   3
     In the course of negotiating the settlement of this action, Plaintiff’s counsel attempted to
   negotiate its fee request with Defendant directly, even providing copies of their billing sheets.
   However, Defendant elected to have this Court determine the appropriate amount to pay to
   Plaintiff’s counsel.


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          A.      Plaintiff is the Prevailing Party in this Matter and is Therefore Entitled to
                  an Award of Her Reasonable Attorneys’ Fees and Costs.

          By virtue of prevailing in the Eleventh Circuit and the settlement agreement in this

   matter, Plaintiff is the prevailing party.   “A typical formulation is that plaintiffs may be

   considered prevailing parties for attorney’s fees purposes if they succeed on any significant

   issue in litigation which achieves some of the benefit the parties sought in bringing suit.”

   Hensley v. Eckerhart, 461 U.S. 424, 433 (1983).

          Courts in this Circuit have recognized that, “[w]here the parties have agreed to settle an

   FLSA dispute, the plaintiff, in order to be considered a prevailing party, must obtain a stipulated

   or consent judgment from the court ‘evincing the court’s determination that the settlement is a

   fair and reasonable resolution of a bona fide dispute over FLSA provisions.’” Milie v. City of

   Savannah, 2020 WL 4041118, at *3 (S.D. Ga. July 16, 2020) (quoting Mayer v. Wall St. Equity

   Grp., Inc., 514 F. App’x 929, 934 (11th Cir. 2013) (internal quotations omitted)).

          Here, the parties’ settlement agreement explicitly states that “Defendant acknowledges

   and agrees that Plaintiff is entitled to reasonable attorneys’ fees and costs – subject to Court’s

   determination regarding the amount as noted above.” By way of comparison, the court in Milie

   held that, because “the Court approved the parties’ Agreement as fair a reasonable resolution,

   and Defendant does not dispute that Plaintiffs are entitled to fees per the Agreement,” the

   plaintiff was the prevailing party and entitled to an award of attorneys’ fees and costs. See also

   Garcia v. J&J, No. 19-CV-60728, 2021 U.S. Dist. LEXIS 20468, **4-5 (S.D. Fl. Feb. 1, 2021)

   (finding plaintiffs entitled to fees where settlement agreement by parties indicated court would

   determine fee award). Because Defendant has acknowledged that Plaintiff is entitled to fees and

   costs, this Court should similarly find that Plaintiff is the prevailing party in this action and

   entitled to an award of reasonable attorneys’ fees and costs.



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          B.      Plaintiff’s Counsel Provides Their Lodestar

          Plaintiff’s counsel agreed to represent Plaintiff on a contingency basis and has not

   received any payment for accrued attorneys’ fees or out-of-pocket expenses. Plaintiff’s counsel

   are requesting attorneys’ fees at the following varying hourly rates, hours, and total lodestar:

           Attorney                         Rate                Hours                 Lodestar
   Gerald Wells                      $600                 217.75                  $125,112

   James L. Simon                    $445                 110.8                   $49,306

   Clifford P. Bendau, II            $445                 71.4                    $31,773
   Christopher J. Bendau             $395                 11.6                    $4,582

   Elizabeth Pollock Avery           $650                 15.9                    $10,335
   James McGraw                      $800                 124.6                   $99,680
   Matthew Brady                     $500                 8.7                     $4,350
   Daniel Hart                       $250                 6.8                     $1,700

   John R. Byrne                     $605                 31.9                    $19,299.50
   Diana Zulueta                     $325                 1.3                     $422.50

                                                Totals    591.15                  $346,338


          Courts have expressly approved many of these attorneys’ hourly rates. In addition,

   Plaintiff’s counsel have obtained the declaration of Richard Tuschman, Esq. regarding the

   prevailing market rates in the Southern District of Florida. See Tuschman Decl. attached hereto

   as “Exhibit 2” (“Tuschman Decl.”)4 Further, as the declarations of Plaintiff’s counsel make

   plain, counsel has complied with Local Rule 7.3(a)(5) as it identifies, inter alia, the identity,

   experience, and qualifications for each timekeeper for whom fees are sought.

          Importantly, the attorney time set forth in the chart above does not include all the time


   4
     While the prevailing rate in the Southern District of Florida is lower than many of the typical
   billing rate of many of the attorneys comprising Plaintiff’s counsel, it is worth noting that as set
   forth in the accompanying declarations, a number of Plaintiffs’ lawyers have had their rates
   approved by federal courts in other jurisdictions.


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   incurred by all attorneys who worked on this matter. Rather, Plaintiff’s counsel exercised

   extreme billing judgment and elected not to include certain attorneys’ time in their entirety due

   to those attorneys primarily contributing to this case in strategic planning and providing

   additional review of briefing and discovery. In addition, time spent working on this matter when

   it was in the Northern District of Ohio or on briefing the conditional certification motion was

   also not included. In essence, Plaintiff’s counsel took all deliberative measures to ensure that no

   “excessive, redundant, or otherwise unnecessary hours . . . that would be unreasonable to bill to

   a client” were not included in this fee request. Norman v. Hous. Auth. of Montgomery, 836 F.2d

   1292, 1301 (11th Cir. 1988).5

          Below is a brief recitation of each law firm requesting fees in this case and a brief

   description of their contributions to this case. As demonstrated herein, each firm’s requested

   rate and lodestar is reasonable and should be awarded.

                  1.      Connolly Wells & Gray LLP

           Mr. Wells was the primary attorney from Connolly Wells & Gray, LLP (“CWG”) who

   worked on this matter. See Declaration of Gerald D. Wells, III (“Wells Decl.”), attached as

   “Exhibit 3,” at ¶¶ 1-4. In exercising “billing judgment”, Plaintiff’s counsel has elected not to

   include the time of Mr. Wells’s partners, as their time largely involved strategy sessions and

   revisions to Mr. Wells’s work. See generally Wells Decl., Ex. 3. Mr. Wells was largely

   responsible for, inter alia, taking the deposition of the Rule 30(b)(6) designee, drafting parts of

   the summary judgment response, drafting portions of the briefing before the Eleventh Circuit,



   5
     “Importantly, ‘if fee applicants do not exercise billing judgment, courts are obligated to do it
   for them.’” Penn v. Dsm Logistics Corp V, No. 20-CV-62216, 2021 U.S. Dist. LEXIS 122836,*8
   (S.D. Fl. June 21, 2021) (quoting ACLU v. Barnes, 168 F.3d 423, 428 (11th Cir. 1999)). Because
   counsel has exercised billing judgment, Plaintiff’s counsel respectfully submits there is no need
   for the Court to further deduct from counsel’s time.


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   arguing before the Eleventh Circuit, and negotiating the settlement with Defendant. Using the

   Lodestar analysis, Plaintiff requests attorneys’ fees in the amount of $124,890 for 208.15 hours

   incurred by Gerald D. Wells, III at the hourly rate of $600. Mr. Wells’s hourly rate has been

   approved by other federal courts in analogous FLSA actions. See Wells Decl., Ex. 3, at ¶ 14. In

   addition, Plaintiff also requests $3,504.41 in out-of-pocket costs incurred on her behalf by

   CWG. See Wells Decl., Ex. 3, at ¶ 31.

                  2.      The Law Offices of Simon & Simon

          Mr. Simon was the primary attorney from The Law Offices of Simon & Simon (“Simon

   Law Firm”) who worked on this matter. See Declaration of James Simon (“Simon Decl.”),

   attached as “Exhibit 4,” at ¶ 1. In exercising “billing judgment”, Plaintiff’s counsel has elected

   not to include any of Mr. Simon’s time spent working on this matter while it was pending

   before the Northern District of Ohio or on the briefing of conditional certification. See Simon

   Decl., Ex. 4, at ¶ 5. Mr. Simon was largely responsible for, inter alia, client interface, defending

   Plaintiff’s deposition, drafting parts of the summary judgment response, and drafting portions of

   the briefing before the Eleventh Circuit.

          Using the Lodestar analysis, Plaintiff requests attorneys’ fees in the amount of $49,306

   for 110.9 hours incurred by James L. Simon at the hourly rate of $445. Mr. Simon’s hourly rate

   has been approved by other federal courts in analogous FLSA actions. See Simon Decl., Ex. 4,

   at ¶ 5. In addition, Plaintiff also requests $1,633.45 in out-of-pocket costs incurred on her

   behalf by The Law Offices of Simon and Simon.

                  3.      Bendau & Bendau PLLC

          Mr. Clifford Bendau was the primary attorney from Bendau & Bendau PLLC (“Bendau

   Law Firm”) who worked on this matter. See Bendau Decl., Ex. 1, at ¶¶ 1, 3. In exercising




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   “billing judgment”, Plaintiff’s counsel has elected not to include any of Mr. Bendau’s time

   spent working on this matter while it was pending before the Northern District of Ohio, briefing

   of conditional certification, or his strategic inputs/revisions. See generally Bendau Decl., Ex. 1.

   Setting those items aside, Mr. Bendau was largely responsible for, inter alia, drafting the instant

   motion, communicating with clients, and developing case strategy.

          Using the Lodestar analysis, Plaintiff requests attorneys’ fees in the amount of $31,773

   for 71.4 hours incurred by Clifford P. Bendau, II at the hourly rate of $445. Mr. Bendau’s

   hourly rate has been approved by other federal courts in analogous FLSA actions. See Bendau

   Decl., Ex. 1, at ¶ 40. In addition, Plaintiff requests attorneys’ fees in the amount of $4,582 for

   11.6 hours incurred by Christopher J Bendau at the hourly rate of $395. Christopher Bendau’s

   hourly rate has been approved by other federal courts. See Bendau Decl., Ex. 1, at ¶ 41.

   Plaintiff also requests $50 in out-of-pocket costs incurred on her behalf by Bendau & Bendau

   PLLC. See Bendau Decl., Ex. 1, at ¶ 46.

                  4.      Lynch Carpenter LLP

          Several associates were involved in this litigation from Lynch Carpenter LLP (formerly

   Carlson Lynch LLP), including attorneys Elizabeth Pollock-Avery, James McGraw, and

   Matthew Brady and paralegal Daniel Hart. See Declaration of Edward W. Ciolko (“Ciolko

   Decl.”), attached as “Exhibit 5,” at ¶ 7. Lynch Carpenter’s rates have been approved by several

   federal courts. Id. at ¶¶ 12, 14, 18, 23. Plaintiff, exercising substantial billing discretion, has

   decided not to request compensation for time expended by Edward W. Ciolko, a partner at the

   firm, who undertook a supervisory role in this litigation over the Lynch Carpenter associates. Id.

   at ¶ 8. These associates were involved in every step in this litigation, including researching and

   drafting the summary judgment response, assisting Attorney Wells with deposition preparation,




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   assisting in strategizing regarding settlement of Plaintiff’s claims. Id. at ¶ 9. Accordingly, using

   the lodestar analysis, Lynch Carpenter requests $116,065 in attorneys’ fees and $2,128.75 in

   costs. Id. at ¶¶ 7, 25.

           Attached to each respective declaration is Plaintiff’s counsel’s lodestar records for the

   time that Plaintiff’s counsel spent litigating this case, multiplied by their respective hourly rates.

   Each itemization also includes a computation of the out-of-pocket costs that Plaintiff’s counsel

   has thus far incurred.

                   5.        León Cosgrove, LLP

           Mr. John Byrne was the primary attorney from León Cosgrove, LLP (“León Cosgrove”)

   who worked on this matter. See Declaration of John R. Byrne (“Byrne Decl.”), attached as

   “Exhibit 6” at ¶ 7. Mr. Byrne served as local counsel and, thus, was responsible for keeping the

   rest of Plaintiff’s counsel apprised of case developments and ensuring Plaintiff’s counsel

   complied with the local rules of this Court. See Byrne Decl., Ex. 6, at ¶ 8.

           Using the Lodestar analysis, Plaintiff requests attorneys’ fees in the amount of $19,722

   for 33.2 hours incurred by Leon Cosgrove. See Byrne Decl., Ex. 6, at ¶¶ 11-12. In addition,

   Plaintiff also requests $2,231.91 in out-of-pocket costs incurred on her behalf by Leon

   Cosgrove. See Byrne Decl., Ex. 6, at costs summary

           C.      Plaintiff’s Counsel’s Lodestar is Reasonable and Should be Awarded in this
                   Matter.

           In determining an award of attorney fees in an FLSA action, “[t]here exists a strong

   presumption of the reasonableness of the lodestar amount.” Saizon v. Delta Concrete Products

   Co., Inc., 448 F.3d 795, 800 (5th Cir. 2006). Under the lodestar method, the Court determines a

   reasonable fee by multiplying “the number of hours reasonably expended on the litigation” by

   “a reasonable hourly rate.” See Hensley v. Eckerhart, 461 U.S. at 433.



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          To determine the reasonableness of the hourly rate and hours expended, the Court

   should consider the Johnson factors. Sheppard v. Hillsborough County Sheriff’s Office, 2013

   WL 6116813, at *3 (M.D. Fla. November 20, 2013), citing Blanchard v. Gergeron, 489 U.S.

   87, 94 (1989), citing Johnson v. Ga. Highway Exp., Inc., 488 F.2d 714, 717-19 (5th Cir. 1974).

          These factors are: (1) the time and labor required; (2) the novelty and difficulty of the

   issues; (3) the skill requisite to perform the legal service properly; (4) preclusion of other

   employment by the attorneys due to acceptance of the case; (5) the customary fee; (6) whether

   the fee is fixed or contingent; (7) any time limitations imposed by the client or circumstances;

   (8) amount in controversy and results obtained; (9) experience, reputation, and ability of the

   attorneys; (10) undesirability of the case; (11) the nature and length of the professional

   relationship with the client; and (12) awards in similar cases. Id.

          Notably, the “fee applicant bears the burden of establishing entitlement and

   documenting the appropriate hours and hourly rates.” ACLU v. Barnes, 168 F.3d 423, 427 (11th

   Cir. 1999). However, in determining the fee award, a district court “need not become ‘green-

   eyeshade accountants.’” Garcia, 2021 U.S. Dist. LEXIS 20468, *6 (quoting Fox v. Vice, 563

   U.S. 826, 838 (2011)). Rather, “the essential goal for the court is to ‘do rough justice, not

   achieve auditing perfection.’” Id. Importantly, “neither the text nor the purpose of the FLSA,

   however, supports imposing a proportionality limit on recoverable attorneys’ fees.” Matiano,

   2021 U.S. Dist. LEXIS 8877 *15 (quoting Fisher v. SD Prot. Inc., 948 F.3d 593, 603 (2d Cir.

   2020). Indeed, the Eleventh Circuit found no abuse of discretion where a district court declined

   to reduce a lodestar amount where defendant generally asserted that the fee award was

   excessive when compared to the jury verdict. P&K Rest. Enter., LLC v. Jackson, 758 F. App’x

   844, 850-51 (11th Cir. 2019).




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                  1.      The time and labor required

          As described in the accompanying Declarations, Plaintiff’s Counsel together have

   devoted 557.95 hours to this litigation at their varying respective hourly rates. See Exhibits A-F.

   In reaching this figure, Plaintiff’s Counsel have exercised billing judgment, ensuring that only

   time appropriately charged to a paying client was included. Bendau Decl, Ex. 1, at ¶ 36. In

   addition, Plaintiff’s Counsel allocated work efficiently to avoid duplication of effort.        Id.

   Moreover, the attached Declarations report time only through December 8, 2021.6

          The 557.95 hours Plaintiff’s Counsel have expended thus far on this case were reasonably

   spent. Plaintiff’s Counsel: (1) interviewed Plaintiff and her co-workers; (2) prepared and filed a

   complaint; (3) developed the strategy for prosecuting the claims in this case in the most efficient

   manner possible; (4) reviewed many pages of documents; (5) prepared detailed mediation briefs

   that included Plaintiff’s Counsel’s assessments of the case; (6) participated in two mediations;

   (7) fully briefed a motion for summary judgment; (8) fully briefed and argued an appellate brief,

   obtaining a reversal; (9) worked diligently with defense counsel to revise and finalize the

   settlement agreement; (10) worked to revise the motion for approval of the settlement; (11)

   drafted this motion for attorneys’ fees and costs; and (12) responded to Plaintiff’s inquiries

   throughout the litigation and settlement. Bendau Decl, Ex. 1, at ¶¶ 35, 44. The last two tasks are

   ongoing, and Plaintiff’s Counsel’s lodestar does not include the work that will be required as this

   matter proceeds. Indeed, all of the time spent was necessary in order to obtain this excellent

   result for Ms. Rafferty.

                  2.      The novelty and difficulty of the question presented



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     Should it be necessary, Plaintiff’s Counsel will submit a supplemental submission detailing the
   time spent drafting and filing any reply or other work done in order to obtain closure in this
   matter.


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          FLSA cases, especially those involving the tip-credit and tipped employees, are

   particularly complex and high-risk, and this case was no exception. Indeed, during the pendency

   of this litigation, the Department of Labor’s position on how sidework is compensable changed.

   The claims here involved nuanced questions of federal wage laws and created a substantial risk

   that Plaintiff would not recover.      Defendant raised several defenses, including contesting

   liability. Indicative of the complexity of this case, a novel issue was appealed to the Eleventh

   Circuit regarding what deference, if any, was due the Department of Labor’s November 8, 2018

   Opinion Letter FLSA2018-27 and whether Ms. Rafferty’s deposition testimony was sufficient to

   preclude her from presenting her case to a jury.

          Ultimately, the parties decided to resolve the case without proceeding to trial. While

   Plaintiff believed that she would have prevailed at trial, the outcome was by no means certain as

   evidenced by this Court’s initial grant of summary judgment. That Plaintiff’s counsel was able to

   obtain a full recovery speaks to the quality of counsel involved. In short, the hours expended by

   Plaintiff’s counsel were reasonable given the legal issues involved and the vigorous defense

   provided by Defendant’s counsel.

                  3.      The skill requisite to perform the legal service properly

          The legal issues raised by this FLSA action were sophisticated and required extensive

   knowledge of the law, despite its otherwise straightforward nature. The FLSA is a complex

   statute, requiring strong legal skills necessary to identify issues, research them, resolve them, and

   then lay them out persuasively for the court. The FLSA requires counsel who understand its

   intricacies and nuances.

          Due to the complexity of the issues presented, this case required Plaintiff’s Counsel to be

   well-versed in issues of collective actions, FLSA law, and difficult damages analyses. Each of




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   these areas alone involves nuanced legal and practical challenges, and their intersection makes

   for particularly difficult litigation. Indeed, even at the Circuit level, the Court sought further

   clarification which required input from this Court and Plaintiff’s counsel.

          For these reasons, Plaintiff very likely would not have obtained such results without the

   assistance of Plaintiff’s counsel.

                     4.     Preclusion of other employment

          Beyond the time constraints placed on an attorney by the fact of accepting and litigating a

   case, Plaintiff’s counsel was not significantly precluded from other work because of this

   representation.

                     5.     Customary fee

          This factor is outlined extensively, above, in Sections II(A) and (B), above. For the

   Court’s convenience, and in order to avoid repetition, Plaintiff’s counsel refers to those

   Subsections above.

                     6.     Whether the fee is fixed or contingent

          The representation agreement between Plaintiff and Plaintiff’s counsel was based on a

   contingency fee. However, Plaintiff’s counsel are entitled to their reasonable attorney fees at

   their respective hourly rates because a fee award in an FLSA action is not contingent upon a

   party’s obligation to pay counsel or the amount of the recovery. Indeed, the Eleventh Circuit has

   clearly articulated that counsel for a prevailing plaintiff should fully recover all reasonable

   attorney fees, regardless of the specific amount of the plaintiff’s recovery. Rodriguez v. Molina

   Healthcare Inc., 806 Fed.Appx. 797, 806 (11th Cir. 2020), citing Fegley v. Higgins, 19 F.3d

   1126, 1134-35 (6th Cir. 1994). As the Sixth Circuit aptly noted in Fegley:

                     The purpose of the FLSA attorney fees provision is to insure
                     effective access to judicial process by providing attorney fees for



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                   prevailing plaintiffs with wage and hour grievances. Since such
                   claims frequently are for small amounts of money, courts should
                   not place an undue emphasis on the amount of the plaintiff’s
                   recovery because an award of attorney fees here encourages the
                   vindication of congressionally identified policies and rights.
                   Indeed, we have upheld substantial awards of attorney’s fees even
                   though a plaintiff recovered only nominal damages.

   Fegley, 19 F.3d at 1134-35 (internal quotations and citations omitted).

           Moreover, “[i]n general, a fee-shifting statute ‘controls what the losing defendant must

   pay, not what the prevailing plaintiff must pay his lawyer.’ Venegas v. Mitchell, 495 U.S. 82, 90,

   110 S.Ct. 1679, 1684 (1990). The payment of attorney’s fees is part of the penalty for violating

   the substantive statute.” Id.

           Additionally, because the agreement between Plaintiff and Plaintiff’s counsel is

   contingent upon the outcome of the matter, this Court may adjust upward Plaintiff’s Counsel’s

   hourly rate: “The Court may also look to the contingent nature of the of the fee and the carrying

   costs of counsel faces and adjust the hourly rate upward.” Silva v. Miller, 547 F.Supp. 1299,

   1305 (S.D. Fla. 2008) (“The criterion for the Court is what is reasonable– not what the parties

   agree”). See also Moreno v. City of Sacramento, 534 F.3d 1106 (9th Cir. 2007) (“It must also be

   kept in mind that lawyers are not likely to spend unnecessary time on contingency fee cases in

   the hope of inflating their fees. The payoff is too uncertain, as to both the result and the amount

   of the fee. It would therefore be the highly atypical civil rights case where plaintiff’s lawyer

   engages in churning. By and large, the court should defer to the winning lawyer’s professional

   judgment as to how much time he was required to spend on the case; after all, he won, and might

   not have, had he been more of a slacker”).

           Here, Plaintiff’s counsel undertook to represent Plaintiff on the understanding that, were

   Plaintiff not to prevail, Plaintiff would owe nothing to counsel. In addition, Plaintiff’s counsel




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   fronted all out-of-pocket expenses and, if Plaintiff were not to prevail in this matter, would not

   have received reimbursement from Plaintiff for such outlays.

                  7.     Time limitations imposed by the client or circumstances

          There was no time limitation imposed by either the client or the circumstances.

                  8.     Amount involved and results obtained

          After years of litigation in multiple district courts and achieving a reversal in the

   Eleventh Circuit, Plaintiff has obtained all the relief she could possibly have been entitled to

   under the FLSA. Indeed, the settlement provides for Denny’s to forfeit entirely the tip credit

   imposed on Ms. Rafferty’s wages, plus an additional equal amount as liquidated damages under

   the FLSA. Plaintiff’s counsel submits that they have obtained excellent results and have

   assisted Plaintiff in recovering double the amount of back wages Defendant owed her. This

   result is particularly strong given the risks Plaintiff faced had she gone to trial, including the

   substantial risk that she would have recovered nothing.

                  9.     Experience, reputation, and ability of the attorneys

          Plaintiff’’ Counsel’s experience, reputation, and ability, which are detailed in the

   accompanying declarations, support the requested fee award.

                  10.    The “undesirability” of the case

          The risk and complexity summarized above demonstrate that recovery was not

   guaranteed. This fact underscores the appropriateness of the requested fee in this case.

                  11.    The nature and length of the professional relationship with the client

          This is the only matter on which Plaintiff’s counsel has represented Plaintiff. Ms.

   Rafferty first approached Plaintiff’s Counsel in August 2018 seeking legal advice as to whether

   Defendant had improperly failed to compensate minimum wages to her and her coworkers.




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   Plaintiff’s decision to retain Plaintiff’s Counsel was based on counsel’s experience pursuing

   claims under the FLSA.        Throughout the litigation, counsel has maintained a close and

   productive relationship with Plaintiff.

                  12.     Awards in similar cases

          As demonstrated above, the requested fees and costs are based on the lodestar method

   and are consistent with Eleventh Circuit authority and with fees awards decided in similar cases

   in this jurisdiction. Indeed, in another case involving claims of FLSA violations that settled on

   the eve of trial, a sister court in this District awarded over $159,000 in attorneys’ fees and

   $10,240 in costs. Garcia v. J&J, No. 19-CV-60728, 2021 U.S. Dist. LEXIS 20468 (S.D. Fl.

   Feb. 1, 2021). Importantly, however, the Garcia case did not involve any appellate work. Id.

    IV.   PLAINTIFF IS ALSO ENTITLED TO HER REASONABLE ATTORNEY FEES
          FOR TIME HER COUNSEL EXPENDED IN PREPARING THIS MOTION.

          A party that is entitled to an award of attorneys’ fees is also entitled to compensation for

   time expended on an application for attorneys’ fees. Gary v. Carbon Cycle Arizona LLC, 398

   F.Supp.3d 468, 479 (D. Ariz. August 16, 2019) (awarding an FLSA plaintiff’s attorneys’ fees

   for time spent preparing the fees application because “it would be inconsistent to dilute a fees

   award by refusing to compensate attorneys for time they reasonably spent in establishing their

   rightful claim to the fee”), citing In re Nucorp Energy, Inc., 764 F.2d 655, 659-60 (9th Cir.

   1985); see also Land v. Affleck, 587 F.2d 75, 77 (1st Cir. 1978) (same). Here, as shown in the

   accompanying declarations, Plaintiff’s counsel has included time spent drafting and finalizing

   this motion. In addition, Plaintiff’s counsel will supplement this motion with their lodestar

   incurred in drafting her anticipated forthcoming reply. Importantly, Plaintiff’s counsel sought to

   negotiate its fees with Defendant absent Court intervention.




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    V.    PLAINTIFF IS ALSO ENTITLED TO AN AWARD OF HER OUT-OF-POCKET
          EXPENSES, WHICH ARE REASONABLE.

          “‘Under the Fair Labor Standards Act, costs [‘of the action’] include reasonable out-of-

    pocket expenses.’ Van Dyke v. BTS Container Serv., Inc., Civil No. 08-561-KI, 2009 WL

    2997105, at *2 (D. Or. Sept. 15, 2009) (citing Smith v. Diffee Ford-Lincoln-Mercury, Inc., 298

    F.3d 955, 969 (10th Cir. 2002).” “Costs of the action “can include costs beyond those normally

    allowed under Fed. R. Civ. P. 54(d) and 28 U.S.C. § 1920. Id. (citing Herold v. Hajoca Corp.,

    864 F.2d 317, 323 (4th Cir. 1988) (FLSA’s costs provision authorizes an award of costs as part

    of a “reasonable attorney’s fee,” which would not be authorized under Rule 54 of 28 U.S.C. §

    1920). Robledo v. Orellana, 2012 WL 442122, *3 (D. Oreg. February 10, 2012).

          These out-of-pocket expenses have been incurred for the Plaintiff’s benefit during this

    litigation. Reimbursement for reasonable out-of-pocket expenses that were “incidental and

    necessary to the representation of th[e] clients” is appropriate. Harris v. Marhoefer, 24 F.3d 16,

    19 (9th Cir. 1994).

          The costs incurred and to be incurred by Plaintiff’s counsel include filing fees, service

    costs, and deposition costs. This figure is reasonable in light of the complexity and size of the

    action. All of these costs were necessary in connection with the prosecution of this litigation

    and were made for the benefit of the Plaintiff. Accordingly, they are reimbursable. See In re

    United Energy Corp. Sec. Litig., 1989 WL 73211, at *6-7; In re GNC Shareholder Litig., 668

    F. Supp. 450, 452 (W.D. Pa. 1987); 1 Alba Conte, Attorneys’ Fee Awards § 2.08 at 50-51 (2d

    ed. 1977).

          As detailed in Plaintiff’s counsel’s declarations, Plaintiff requests reimbursement of the

    following out-of-pocket costs:

    Connolly Wells & Gray                               $3,504.41



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    The Law Offices of Simon & Simon                     $1,633.45
    Bendau & Bendau PLLC                                 $50
    Lynch Carpenter                                      $2,128.75
    Leon Cosgrove                                        $2,231.91
                                            Total                                       $9,548.52


    VI.   CONCLUSION

          Accordingly, the Court should award Plaintiff her total attorneys’ fees in the amount of

   $346,338, and costs in the amount of $9,548.52, for a total of $355,886.52.

          Dated: December 8, 2021                    Respectfully submitted,

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